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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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John Doe, No. 24-cv-7776

Plaintiff,

SEAN COMBS, DADDY’S HOUSE RECORDINGS INC.,

CE OPCO, LLC d/b/a COMBS GLOBAL f/k/a COMBS
ENTERPRISES LLC, BAD BOY ENTERTAINMENT HOLDINGS,
INC., BAD BOY PRODUCTIONS HOLDINGS, INC., BAD BOY
BOOKS HOLDINGS, INC., BAD BOY RECORDS LLC, BAD BOY
ENTERTAINMENT LLC, BAD BOY PRODUCTIONS LLC,
ORGANIZATIONAL DOES 1-10,

Defendants.

NOTICE OF MOTION TO WITHDRAW APPEARENCE
PLEASE TAKE NOTICE that pursuant to Local Civil Rule 1.4(b), Anthony Buzbee, an
attorney for Plaintiff in the above-captioned action, hereby moves to withdraw his appearance as
an attorney of record until such time as he is admitted to practice in this Honorable District.

Plaintiff will continue to be represented by remaining counsel of record from Curis Law.

Dated: March 18, 2025 Respectfully Submitted,

/s/ Anthony G. Buzbee
Anthony G. Buzbee
ait The Buzbee Law Firm
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Kh, Attorneys for Plaintiff John Doe
Awd. 20, 2085-

